                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                   3:09-Cr-39 & 3:12-Cv-232


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff       )                ORDER
                                              )
               v.                             )
                                              )
JASON CAMPBELL,                               )
                                              )
                              Defendant       )



       DEFENDANT JASON CAMPBELL moves to vacate his sentence pursuant to a 28 U.S.C.

§ 2255 (Doc. No. 636). Defendant asserts that his counsel was ineffective for not objecting to the

application of a 21 U.S.C. § 851 enhancement on his sentence arising from a prior felony drug

conviction. Defendant asserts that, based on Carachuri-Rosendo v. Holder, 130 S.Ct. 2577 (2010),

and United States v. Simmons, 649 F.3d 237 (4th Cir. 2011)(en banc), his prior felony drug

conviction no longer qualifies to enhance his sentence.

       Additionally, the Federal Defender for Western North Carolina suggested in a Notice of

Ineligibility for Reduction of Sentence (retroactive crack cocaine reduction) that, while the

Defendant did not qualify for the crack reduction, he may qualify for a reduced sentence pursuant

to United States v. Simmons. See Doc. No. 644.

       Both the Defendant’s and the Federal Defender’s arguments are misplaced.

       According to a Supplement to the Presentence Report (Doc. No. 678), the Government’s

section 851 notice had no bearing on the Defendant’s sentence. Because the Defendant received a

substantial assistance downward departure motion (pursuant to both U.S.S.G. §5K1.1 and 18 U.S.C.




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§ 3553(e)), the Court was relieved from the section 851 enhanced mandatory minimum sentence and

had the discretion to sentence the Defendant below the enhanced mandatory minimum sentence of

twenty (20) years.1 The Court then did in fact sentence the Defendant to 210 months, a sentence less

than twenty (20) years.2

       Because Defendant was not prejudiced by Counsel’s failure to raise the issue of an enhanced

mandatory minimum sentence, Defendant’s motion to vacate his sentence is DENIED.

       The Clerk of Court is directed to certify copies of this ORDER to the Defendant, the Federal

Defender for Western North Carolina, and the United States Attorney.

       IT IS SO ORDERED.

                                                 Signed: September 24, 2012




       1
         Defendant’s unenhanced statutory mandatory minimum was ten (10) years. Even the ten
(10) year statutory minimum had no impact on Defendant’s sentence because the Government’s
substantial assistance motion under 18 U.S.C. § 3553(e) permitted the Court to sentence the
Defendant to a sentence below ten years if the Court believed that was a sentence which was
sufficient but not greater than necessary to accomplish the goals of sentencing.
       2
         Before receiving benefit of the substantial assistance motion, Defendant faced an
advisory guideline range of 360 months to life, a range substantially higher than the enhanced
statutory minimum of twenty years. So the enhanced mandatory minimum sentence of twenty
(20) years did not increase or in any way affect his guideline range.


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